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1    McGREGOR W. SCOTT
     United States Attorney
2    KATHLEEN A. SERVATIUS
     Assistant U.S. Attorney
3
     2500 Tulare Street, Suite 4401
4    Fresno, CA 93721
     Telephone: (559) 497-4000
5    Facsimile: (559) 497-4099

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7                      IN THE UNITED STATES DISTRICT COURT FOR THE
8
                                EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA, ) Case No. 1:05-CR-0341 AWI
11                                 )
12                     Plaintiff,  ) ORDER TO CONTINUE DATE
           v.                      ) FOR HEARING ON DEFENDANTS'
13                                 ) MOTIONS
                                   )
14   JAMES DALE HOLLAND, et al., ) Date: November 13, 2006
                                   ) Time: 9:00 a.m.
15
                       Defendants. ) Honorable Anthony W. Ishii, Courtroom 2
16   ______________________________)

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            Upon the stipulation of the parties and good cause appearing therefore,
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19          IT IS HEREBY ORDERED that the hearing on defendants' motions presently set for

20   November 13, 2006 at 9:00 a.m. is continued until November 20, 2006 at 9:00 a.m. to be heard

21   before the Honorable Anthony W. Ishii, Courtroom 2.
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     IT IS SO ORDERED.
24
     Dated:    November 8, 2006                       /s/ Anthony W. Ishii
25   0m8i78                                     UNITED STATES DISTRICT JUDGE
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